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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

LEAGUE OF UNITED LATIN AMERICAN         §
CITIZENS, et al.                        §
                                        §
       Plaintiffs,                      §
                                                  Case No. 3:21-cv-00259
V.                                      §
                                                       [Lead Case]
                                        §
GREG ABBOTT, et al.,                    §
                                        §
       Defendants.                      §

ROY CHARLES BROOKS, et al.              §
                                        §
       Plaintiffs,                      §
V.                                      §         Case No. 1:21-cv-00991
                                        §          [Consolidated Case]
GREG ABBOTT, et al.,                    §
                                        §
       Defendants.                      §


                        DEFENDANTS’ REPLY IN SUPPORT OF
                            THEIR MOTION TO DISMISS
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                                            INTRODUCTION

        Defendants’ Motion to Dismiss explained that the Brooks Plaintiffs’ complaint should be

dismissed because (a) their claims fail on the merits, and (b) even if their claims plausibly raise a right

to relief, Plaintiffs lack standing to assert them. Plaintiffs offer three responses, but these do not fix

the problems in their complaint.

        First, Plaintiffs argue that circuit precedent allows them to pursue a “coalition district”

discriminatory-effects claim under Section 2 of the Voting Rights Act (“VRA”). But as Defendants

already explained, that decades-old circuit precedent is inconsistent with subsequent Supreme Court

precedent. Simply put, “Section 2 does not impose on those who draw election districts a duty to give

minority voters the most potential, or the best potential, to elect a candidate” of their choice, Bartlett

v. Strickland, 556 U.S. 1, 15 (2009) (plurality op.), and furnishes “no basis” for the theory that

legislatures must draw “minority coalition district[s].” Perry v. Perez, 565 U.S. 388, 399 (2012).

        Second, Plaintiffs argue that the Court should not consider any “alternative narrative” that

undermines their intentional-vote-dilution and racial-gerrymandering claims. ECF 84 at 8. But binding

precedent specifically requires this court to consider any “obvious alternative explanation” at the

pleading stage, including in discrimination cases. Ashcroft v. Iqbal, 556 U.S. 662, 682 (2009) (“obvious

alternative explanation” made “purposeful, invidious discrimination . . . not a plausible conclusion”).

Here, Plaintiffs have not alleged facts that would rebut the strong presumption of legislative good

faith; every fact they have pleaded is “just as much in line with” partisan, rather than racial, motivations

in designing Senate District 10 (“SD10”). Bell Atl. Corp. v. Twombly, 550 U.S. 544, 545 (2007).

        Third, Plaintiffs argue that they can cure their complaint’s deficiency with respect to standing

by offering extrinsic evidence, but that misunderstands the nature of Defendants’ Motion. The Motion

does not challenge the factual basis of the complaint; it is a facial attack, explaining that the complaint

does not include sufficient allegations to demonstrate the Brooks Plaintiffs have standing to pursue



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their claims. Factual evidence is therefore immaterial. And in any event, none of Plaintiffs’ responsive

arguments demonstrate that Senator Powell has standing.

        The Court should dismiss the Brooks Plaintiffs’ Complaint.

                                               ARGUMENT

I.      Plaintiffs’ Section 2 Effects Claim Fails

        Plaintiffs cannot defend their discriminatory-effects claim. Defendants previously explained

that they fail to satisfy any of the three preconditions set forth by the Supreme Court in Thornburg v.

Gingles, 478 U.S. 30 (1986), and Plaintiffs’ responses do nothing to change this.

        A.      Plaintiffs Misapprehend the Law Concerning Coalition Districts

        The first Gingles precondition requires Plaintiffs to plead facts showing the applicable minority

group “is sufficiently large and geographically compact to constitute a majority in a single-member

district.” Gingles, 478 U.S. at 50. Defendants explained that, under Supreme Court precedent, Plaintiffs

cannot satisfy this precondition with a coalition theory. ECF 43 at 2–7. That is, Plaintiffs cannot allege

that several minority groups taken together are large enough to support a single-member district. Yet

Plaintiffs do just that, asserting that Fifth Circuit opinions allow it. See ECF 84 at 2–5. They do not.

        First, contrary to Plaintiffs’ accusations, see ECF 84 at 4, Defendants did not assert that Bartlett

held that plaintiffs cannot pursue a coalition-district theory. Rather, Defendants explained that the

Supreme Court in Bartlett rejected a crossover-district theory because “[t]here is a difference between

a racial minority’s ‘own choice,’ and the choice made by a coalition.” 556 U.S. at 15. If one minority

group cannot “elect [a] candidate based on their own votes and without assistance from others,” id. at

14, then it cannot be said that the group has “less opportunity than other members of the electorate

to . . . elect representatives of their choice.” Id. (quoting 52 U.S.C. § 10301). And then in Perez—which

Plaintiffs mention but do not meaningfully address, see ECF 84 at 5—the Supreme Court extended

Bartlett’s logic to coalition districts. 565 U.S. at 399. Reversing a three-judge district court, the Perez




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Court explained: “If the District Court did set out to create a minority coalition district, rather than

drawing a district that simply reflected population growth, it had no basis for doing so.” Id. (emphasis

added) (citing Bartlett, 556 U.S. at 13–15). These holdings make clear that a district court is incorrect

to assume that Section 2 requires the creation of coalition districts.

        Rather than address Supreme Court precedent, Plaintiffs argue that the Fifth Circuit’s decision

in Campos v. City of Baytown, 840 F.3d 1240 (5th Cir. 1988), controls. See ECF 84 at 2–4. But they ignore

that Campos’s logic cannot be reconciled with Bartlett and Perez, which therefore overruled it. See ECF

43 at 4–7; see also Gahagan v. U.S. Citizenship & Immig. Servs., 911 F.3d 298, 303 (5th Cir. 2018) (the

“overriding consideration” in determining if a case has been overruled “is the similarity of the issues

decided”); Miller v. Gammie, 335 F.3d 889, 900 (9th Cir. 2003) (en banc) (case is overruled if intervening

Supreme Court precedent “undercut[s] the theory or reasoning underlying the prior circuit precedent

in such a way that the cases are clearly irreconcilable”).

        Plaintiffs do not engage this argument, instead arguing that Campos was right. But the cases

they cite in support are just as irrelevant as Campos because (a) they rely on the same flawed reasoning

as Campos, and (b) like Campos, they pre-date—and were therefore overruled by—Bartlett and Perez. See

ECF 84 at 3 (citing Bridgeport Coal. for Fair Representation v. City of Bridgeport, 26 F.3d 271, 276–77 (2d

Cir. 1994), vacated on other grounds, 512 U.S. 1283 (1994); Concerned Citizens of Hardee Cnty. v. Hardee Cnty.

Bd. of Commrs., 906 F.2d 524, 526 (11th Cir. 1990); Badillo v. City of Stockton, 956 F.2d 884, 891 (9th Cir.

1992)). In fact, the Northern District of Georgia, which would have otherwise been bound by

Eleventh Circuit precedent, has since applied Perez to reject a coalition-district theory. See Ga. State

Conf. of the NAACP v. Fayette Cnty. Bd. of Commrs., No. 3:11-cv-123, 2012 WL 12861142, at *3 (N.D.

Ga. 2012). (“[A Section 2 injury] cannot be remedied by the creation of a district in which the minority

group constitutes less than fifty percent of the voting population. Indeed, the Supreme Court itself




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seems to have rejected such an interpretation of Bartlett.”) (citing Perez, 565 U.S. 399). This Court

should do the same. Bridgeport, Concerned Citizens, and Badillo are not good law. Neither is Campos.

        Plaintiffs’ coalition-district theory cannot satisfy the first Gingles precondition because it has

been rejected by the Supreme Court. Plaintiffs’ contrary arguments do not grapple with this reality.

        B.      Plaintiffs Do Not Plausibly Allege Voter Cohesion

        The second Gingles precondition requires Plaintiffs to plead facts showing that the applicable

minority group “is politically cohesive.” 478 U.S. at 51. Even if Section 2 supported a coalition-district

theory, Plaintiffs would still have to plausibly allege that black and Latino voters act based on the same

underlying values: “The notion of political cohesiveness contemplates that a specified group of voters

shares common beliefs, ideals, principles, agendas, concerns, and the like such that they generally unite

behind or coalesce around particular candidates and issues.” Kumar v. Frisco Indep. Sch. Dist., 476

F. Supp. 3d 439, 502 (E.D. Tex. 2020) (quoting LULAC v. Clements, 986 F.2d 728, 744 (5th Cir. 1993)

(LULAC I)). That showing, in turn, requires that Plaintiffs demonstrate “that a significant number of

minority group members usually vote for the same candidates.” LULAC I, 986 F.2d at 743.

        As Defendants explained, see ECF 43 at 8–9, Plaintiffs plead no facts supporting cohesion. The

complaint does not allege that black voters and Latino voters have “common beliefs, ideals, principles,

agendas, concerns, and the like.” Kumar, 476 F. Supp. 3d at 502. Plaintiffs do not contend otherwise.

Instead, they point to two paragraphs in their complaint. See ECF 84 at 5. Read generously, they might

plausibly allege that minority voters, considered as a whole, tend to support Democratic candidates

over Republican candidates. See Compl. ¶¶ 37, 84. Even so, those allegations suffer from two

fundamental defects.

        First, Plaintiffs assume that there are no relevant differences between Latino voters and black

voters—but that cannot be assumed; it is the very issue they must address through plausible factual

allegations. Alleging that minority voters, considered as a whole, tended to support Democrats in past



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elections does not address whether both black voters and Latino voters, considered separately, each

supported the same candidate (or, if so, by what margins).

        Second, Plaintiffs ignore primary elections. Even if black and Latino voters tend to support

the same candidate in general elections, that does not address whether they unite in primary elections,

which “are by far the most probative evidence of cohesion.” Rodriguez v. Pataki, 308 F. Supp. 2d 346,

421 (S.D.N.Y. 2004) (three-judge court), aff’d, 543 U.S. 997 (2004).

        These problems render Plaintiffs’ complaint deficient. If Plaintiffs proved each fact alleged in

their complaint, it would not be enough to establish cohesion between black voters and Latino voters.

        C.      Plaintiffs Do Not Plausibly Allege White-Bloc Voting

        The third and last Gingles precondition requires Plaintiffs to plead facts showing “that the white

majority votes sufficiently as a bloc to enable it . . . usually to defeat the minority’s preferred

candidate.” 478 U.S. at 50–51 (citation omitted). As explained before, see ECF 43 at 9–10, Plaintiffs’

complaint offers only legal conclusions on this precondition. See Compl. ¶ 81 (“Anglo bloc voting will

usually defeat Black and Hispanic voters’ candidates of choice in the region.”). In response, Plaintiffs

point to their prediction that “the new SD10 will reliably defeat minority voters’ preferred candidates”

because the Republican candidate would have carried the newly-configured SD10 in several statewide

elections. ECF 84 at 6 (citing Compl. ¶ 47). That is not enough. The en banc Fifth Circuit rejected a

much stronger showing of white-bloc voting when it held “that the failure of minority-preferred

candidates to receive support from a majority of whites on a regular basis, without more,” did not

“prove legally significant racial bloc voting.” LULAC v. Clements, 999 F.2d 831, 850 (5th Cir. 1993)

(en banc) (LULAC II). Plaintiffs ask this Court to commit the same error as the district court in

LULAC: “loos[ing] § 2 from its racial tether and fus[ing] illegal vote dilution and political defeat.” Id.

And they do so without addressing LULAC at all. See ECF 84 at 6.




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II.     Plaintiffs’ Intentional Vote Dilution Claim Fails

        Plaintiffs also fail to defend their intentional vote-dilution claims. When considering this type

of claim, “the good faith of a state legislature must be presumed.” Miller v. Johnson, 515 U.S. 900, 915

(1995). It is “plaintiffs’ burden to overcome the presumption of legislative good faith and show that

the [Texas] Legislature acted with invidious intent.” Abbott v. Perez, 138 S. Ct. 2305, 2325 (2018). The

required intent is not mere “volition” or “awareness of consequences.” Personnel Admr. of Mass. v.

Feeney, 442 U.S. 256, 279 (1979). It requires that the Legislature have passed a law “‘because of,’ not

merely ‘in spite of,’ its adverse effects upon an identifiable group.” Id. Plaintiffs’ allegations do not

overcome that presumption.

        The Supreme Court in Twombly stressed that, in pleading an intentional-discrimination claim,

the plaintiff must plead facts that disprove the “obvious alternative explanation.” 550 U.S. at 567. As

Defendants explained in their Motion, see ECF 43 at 10–13, and in great detail in their Response to

the Plaintiffs’ Preliminary Injunction Motion, see ECF 102 at 3–25 (Background), 27–38 (Argument

on Intentional Vote Dilution), the Senate majority passed SB4 and S2168 based on partisan motives,

not racial ones. That is the obvious alternative explanation here. For this reason, to state a claim,

Plaintiffs must plead facts that, if proven, would suggest a racial rather than partisan motivation.

Otherwise, their claim is not plausible. See LULAC II, 999 F.2d at 880 (claim cannot succeed where

“the facts demonstrate that partisan affiliation, not race, was responsible” for the actions at issue).

        The Brooks Plaintiffs do not meet this standard. If they proved their allegations, they would

have demonstrated that the Senate majority targeted SD10 for partisan gain and that Senator Powell

repeatedly attempted to inject race into the discussion of that reconfiguration to attempt to thwart it.

That is simply insufficient to rebut the strong presumption of legislative good faith.

        Plaintiffs’ defense of their intentional vote-dilution claims rests on three legal errors. First, they

say that being made to plead facts that rebut the obvious alternative explanation “turns the motion-



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to-dismiss standard upside down,” ECF 84 at 1, but this ignores the effect of the presumption of

legislative good faith. Because “the good faith of a state legislature must be presumed,” Miller, 515

U.S. at 915, it is Plaintiffs’ burden to plead facts rebutting the nondiscriminatory explanations. More,

it ignores that one of the Supreme Court’s leading cases on pleading held that the plaintiff had not

plausibly alleged “purposeful, invidious discrimination” precisely because there was an “obvious

alternative explanation.” Iqbal, 556 U.S. at 682.

        Second, Plaintiffs improperly ask the Court to “accept [legal conclusions] as true.” ECF 84 at

7. They insist the Legislature adopted the 2011 iteration of SD10 with discriminatory intent, and that

the Court must accept their legal position at the pleading stage. Id. That is wrong. “[B]are assertions”

of discriminatory intent “are not entitled to the assumption of truth.” Iqbal, 550 U.S. at 680–81; see also

Walker v. Beaumont Indep. Sch. Dist., 938 F.3d 724, 735 (5th Cir. 2019) (“[C]ourts ‘are not bound to

accept as true a legal conclusion couched as a factual allegation.”’) (quoting Papasan v. Allain, 478 U.S.

265, 286 (1986)).

        As support, Plaintiffs point to a vacated district court decision, Texas v. United States, 887

F. Supp. 2d 133 (D.D.C. 2012), vacated and remanded, 570 U.S. 928 (2013). Although the court in Texas

held that the previous version of SD10 violated the VRA, the issue arose in a preclearance proceeding

under Section 5, which was subsequently declared unconstitutional in Shelby County v. Holder, 570 U.S.

529 (2013). Indeed, the Texas decision was vacated shortly after Shelby County, and thus has no legal

effect. Judge Jones, joined by Judges Jolly, Smith, Clement, and Owen, explained these circumstances

as follows: “[T]he D.C. District’s opinion in [Texas] was vacated by the Supreme Court. Vacated

opinions have no precedential or persuasive value.” Veasey v. Abbott, 830 F.3d 216, 301 n.36 (5th Cir.

2016) (Jones, J., concurring in part and dissenting in part). See also ECF 102 at 21–23 (explaining why

Plaintiffs’ cases are inapposite). Moreover, the constitutional infirmities underlying the plaintiffs’ suit

in Texas meant that no appellate court reviewed the finding on which the Brooks Plaintiffs rely. But



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as the Supreme Court has recognized in the mootness context, “unreviewable” decisions should not

“spawn[] any legal consequences.” United States v. Munsingwear, Inc., 340 U.S. 36, 41 (1950).

        Plaintiffs also claim to have “direct testimony that the justifications offered for dismantling

SD10 were pretextual,” ECF 84 at 7, but they cite nothing in their complaint to support that claim.

The complaint mentions “pretext” only when flatly asserting that a single senator offered pretextual

reasons. Compl. ¶¶ 61, 73. It points to no “direct testimony.” Even if it had, speculation from third

parties on the genuineness of someone else’s beliefs would not make Plaintiffs’ theory any more plausible.

        Third, Plaintiffs fail to grapple with the Supreme Court’s rejection of their cat’s-paw theory:

        The “cat’s paw” theory has no application to legislative bodies. The theory rests on
        the agency relationship that exists between an employer and a supervisor, but the
        legislators who vote to adopt a bill are not the agents of the bill’s sponsor or
        proponents. Under our form of government, legislators have a duty to exercise their
        judgment and to represent their constituents. It is insulting to suggest that they are
        mere dupes or tools.

Brnovich v. Democratic Natl. Comm., 141 S. Ct. 2321, 2350 (2021). In other words, Plaintiffs cannot allege

facts concerning only Senator Huffman and then attribute her alleged discriminatory intent to the rest

of the Legislature. Plaintiffs respond that “every legislator knew that dismantling SD10 would crack

apart Black and Latino voters in Tarrant County.” ECF 84 at 8. But they do not dispute that knowledge

of such effects would not establish intentional discrimination under Feeney. See ECF 43 at 10. Plaintiffs’

only other response is to claim they alleged “that the legislators who voted for SD10 did so for the

purpose of accomplishing that end.” ECF 84 at 8. But the complaint attributes such a purpose to the

Legislature as a whole only through baseless legal assertions, not plausible allegations of fact. See

Compl. ¶ 5 (“The legislature . . . intended the discriminatory result it achieved . . . .”); id. ¶ 75 (“The

legislature intended the discriminatory result it achieved . . . .”).

III.    Plaintiffs Lack Standing

        Nor have Plaintiffs pointed out how their Complaint properly alleges standing. Plaintiffs’

response rests largely on the erroneous assertion that they can establish standing by relying on evidence


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outside the complaint but otherwise “in the record.” ECF 84 at 8–9. Plaintiffs conflate the standard

for a “factual attack” and a “facial attack.” In “a ‘factual attack’ upon the court’s subject matter

jurisdiction over the lawsuit, the defendant submits affidavits, testimony, or other evidentiary

materials.” Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981). A plaintiff responding to such an

attack must “submit facts through some evidentiary method.” Id. By contrast, when a defendant makes

a “facial attack” by challenging the sufficiency of the allegations in the complaint, “review is limited

to whether the complaint is sufficient to allege the jurisdiction.” Id.

        Defendants’ Motion is a “facial attack” on the Brooks Plaintiffs’ standing. It was based on the

insufficiency of the allegations in Plaintiffs’ complaint. See ECF 43 at 13–15. Defendants did not

submit evidence with their motion to dismiss, as they would have for a “factual attack.” As a result,

this Court’s “review is limited to whether the complaint is sufficient to allege the jurisdiction.” Paterson,

644 F.2d at 523; accord, e.g., In re Moncla Marine, LLC, No. 3:19-cv-164, 2019 WL 6878868, at *5 (M.D.

La. Dec. 17, 2019) (“In a facial attack analysis, the Court is limited to the complaint alone and cannot

consider extrinsic materials.”); Hodgson v. United States, No. 5:13-cv-702, 2014 WL 4161777, at *5 (W.D.

Tex. Aug. 19, 2014) (“In evaluating a facial attack, the court considers only the pleadings.”).

        The allegations in the complaint are not sufficient to establish standing, and for the most part,

Plaintiffs do not seriously contend otherwise. Instead, they point to evidence not included in or

attached to their complaint. If Plaintiffs believe they can properly allege facts establishing standing,

they should seek leave to amend their complaint. See Fed. R. Civ. P. 15(a)(2). Their effort to establish

standing through later filings violates the “general rule” that “claims and allegations that are not raised

in the complaint, but raised for the first time in a response to a motion to dismiss are not properly

before the court.” Middaugh v. InterBank, 528 F. Supp. 3d 509, 535–36 (N.D. Tex. 2021).

        Plaintiffs do argue that the Fifth Circuit’s recent decision in Harding v. Dallas County, 948 F.3d

302, 307 (5th Cir. 2020), relieves them of the obligation to plausibly allege that they will vote in future



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elections. See ECF 84 at 9. But that decision rested on the concession “that each voter resides in a

district where their vote has been cracked or packed.” Harding, 948 F.3d at 307 (emphasis added). It

necessarily follows that the plaintiffs had been voting. Thus, the Court had no occasion to consider

whether an allegation that one is registered to vote is equivalent to an allegation that one will vote.

Here, by contrast, Plaintiffs do not allege any facts that show an intent to vote in future elections.

        Even if Plaintiffs’ arguments were meritorious—they are not—none of them would help

Senator Powell establish standing. She is white, so alleged dilution of minority votes is not a cognizable

injury to her right to vote. For Plaintiffs’ racial-gerrymandering claim, they suggest Senator Powell has

standing because she is “Anglo” and “the legislature moved . . . Anglo voters predominantly on the

basis of race.” ECF 84 at 11. But even on that theory, the Legislature did not move Senator Powell at

all, much less because of her race. She remains in SD 10. See Compl. ¶ 15. She therefore has not

“personally been subjected to a racial classification.” United States v. Hays, 515 U.S. 737, 745 (1995).

                                             CONCLUSION

        Defendants respectfully request that the Court dismiss the Brooks Plaintiffs’ complaint.




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Date: December 29, 2021                   Respectfully submitted.

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                                    CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on December 29, 2021, and that all counsel of record were served by CM/ECF.


                                              /s/ Patrick K. Sweeten
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